     Case 3:19-cv-00462-GPC-BGS Document 25 Filed 07/22/20 PageID.107 Page 1 of 3




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 7 Attorneys for Defendants

 8
                               UNITED STATES DISTRICT COURT
 9
                           SOUTHERN DISTRICT OF CALIFORNIA
10

11
      THE CHILDREN’S ADVOCACY                 Case No.: 19cv462 GPC (BGS)
12    INSTITUTE,
13
                  Plaintiff,                  NOTICE OF SETTLEMENT AND
14                                            JOINT MOTION TO VACATE
15          v.                                STATUS CONFERENCE
16    OFFICE OF REFUGEE
17    RESETTLEMENT,
      ADMINISTRATION FOR CHILDREN
18
      AND FAMILIES, United States
19    Department of Health and Human
      Services; UNITED STATES
20
      IMMIGRATION AND CUSTOMS
21    ENFORCEMENT, United States
      Department of Homeland Security;
22
      UNITED STATES CUSTOMS AND
23    BORDER PROTECTION, United
      States Department of Homeland
24
      Security; UNITED STATES
25    DEPARTMENT OF HOMELAND
      SECURITY,
26

27                Defendants.
28
     Case 3:19-cv-00462-GPC-BGS Document 25 Filed 07/22/20 PageID.108 Page 2 of 3




 1            Plaintiff The Children’s Advocacy Institute and Defendants United States
 2 Department of Health and Human Services (“HHS”), United States Immigration and

 3 Customs Enforcement (“ICE”), and United States Customs and Border Protection (“CBP”)

 4 (collectively “the Parties”) have reached a settlement in principle of this entire action.

 5 Accordingly, the parties jointly move to vacate the July 27, 2020 status conference. The

 6 parties are preparing a settlement agreement and will file a joint motion for dismissal with

 7 prejudice within the next 45 days.

 8            DATED: July 22, 2020                         Respectfully submitted,
 9
                                                           ROBERT S. BREWER, JR.
10                                                         United States Attorney
11                                                         /s Rebecca G. Church
12
                                                           REBECCA G. CHURCH
                                                           Assistant U.S. Attorney
13                                                         Attorneys for Defendants
14
                                                           and
15

16                                                         SHEPPARD, MULLIN, RICHTER &
                                                           HAMPTON LLP
17
                                                           s/ Travis J. Anderson
18                                                         TRAVIS J. ANDERSON
                                                           TREVOR S. MANN-O’HALLORAN
19
                                                           THE CHILDREN’S ADVOCACY
20
                                                           INSTITUTE
21                                                         ROBERT C. FELLMETH
                                                           JESSICA HELDMAN
22

23                                                         Attorneys for Plaintiff the Children’s
                                                           Advocacy Institute
24

25

26                                        CERTIFICATION
27            Pursuant to Section 2(f)(4) of the Electronic Case Filing Administrative Policies and
28 Procedures of the United States District Court for the Southern District of California, I

      Notice of Settlement
                                                    2
                                                                                     19cv462 GPC (BGS)
     Case 3:19-cv-00462-GPC-BGS Document 25 Filed 07/22/20 PageID.109 Page 3 of 3




 1 certify that the content of this document is acceptable to Travis J. Anderson, Esq. and that

 2 I have obtained authorization from him to affix his electronic signatures to this document.

 3                                                            By:   s/ Rebecca G. Church
                                                                    REBECCA G. CHURCH
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      Notice of Settlement
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                                                                                19cv462 GPC (BGS)
